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AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District of Minnesota


Wayne Butts,

                                                      Plaintiff,

v.                                                                            Case No. 0:23−cv−02663−PJS−TNL

Radius Global Solutions, LLC ,

                                                      Defendant.




                                                     SUMMONS IN A CIVIL ACTION

To: Radius Global Solutions, LLC


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     David A Goodwin
                                     120 South 6th Street, Suite 2600
                                     Mpls, MN
                                     55402

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                   By:




                                                                                         Kate M. Fogarty, Clerk of Court


Date of Issuance: August 29, 2023
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AO 440 (Rev. 06/12) Summons in a Civil Action


Civil Action No. 0:23−cv−02663−PJS−TNL

                                                     PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for (name of individual and title, if any)___________________________________________
was received by me on (date) __________________.

            I personally served the summons on the individual at (place)__________________________________
            _______________________________ on (date) ____________; or

            I left the summons at the individual's residence or usual place of abode with (name) ________________
            _____________________________, a person of suitable age and discretion who resides there,
            on (date)________________, and mailed a copy to the individual's last known address; or

            I served the summons on (name of individual) ______________________, who is
            designated by law to accept service of process on behalf of (name of organization)__________________
            ________________ on (date) ___________; or

            I returned the summons unexecuted because _____________________________; or

            Other (specify):


      My fees are $______________ for travel and $______________ for services, for a total of $______________.

      I declare under penalty of perjury that this information is true.

Date: ______________                                                ____________________________________________
                                                                                    Server's signature

                                                                    ____________________________________________
                                                                                   Printed name and title


                                                                    ____________________________________________
                                                                                     Server's address

Additional information regarding attempted service, etc:
